
This is an appeal from the determination of deficiencies in income and profits taxes of $4,798.81 and $568.69 for the calendar years 1919 and 1920, respectively, all of which are in controversy. The taxpayer asserts that the Commissioner erred in adjusting inventories and capital investment and in the computation of depreciation on machinery and equipment for the years in question. The parties agree that only questions of fact are involved. In the petition, counsel for the taxpayer refers to a revenue agent’s report, to the deficiency letter, and to the disputed inventories, but none of such documents was adduced in evidence. The oral testimony offered by counsel himself as a witness was for the most part incompetent and was entirely without probative value. The Board, therefore, is unable to make any findings of fact upon. which to review the determination of the Commissioner.
DECISION.
The determination of the Commissioner is approved.
ARTjndell not participating.
